      Case 4:20-cv-05640-YGR          Document 1267        Filed 02/20/25      Page 1 of 3




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  RESPONSE TO EPIC’S OBJECTIONS
                                              TO SPECIAL MASTER RULINGS ON
                  Defendant, Counterclaimant. APPLE INC.’S PRODUCTIONS OF RE-
                                              REVIEWED PRIVILEGE DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

       Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Response to
Epic’s Objections to certain of the Special Masters’ rulings on Apple’s productions of re-reviewed
and privileged documents, rendered February 12 and February 14, 2025. We are submitting these
documents for in-camera review contemporaneously with this filing.

        Apple’s responses relate only to documents Apple believes are not already covered by Your
Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this post-
judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to documents
affected by those rulings, including any post-judgment appellate rights.
      Case 4:20-cv-05640-YGR           Document 1267        Filed 02/20/25      Page 2 of 3




Entry Nos. 9198 (PRIV-APL-EG_00241592), 9601 (PRIV-APL-EG_00244743), 9799 (PRIV-
APL-EG_00246004), 11569 (PRIV-APL-EG_00266051)

       Entry 9198 (PRIV-APL-EG_00241592) is an email from a non-lawyer to Jason Cody (in-
house counsel), with another non-lawyer copied. The email consists of a single question to
in-house counsel regarding changes Apple was planning in response to regulatory requirements in
Korea. It is a request for legal advice and is privileged.

        Entry 9601 (PRIV-APL-EG_00244743) is an email in which a non-lawyer provides a
summary and analysis of a pending investigation by a Korea regulatory authority, the expected
results of that investigation and any ensuing report, the regulatory process following the issuance
of that report, and a summary of current media coverage. While not expressly mentioned on the
face of the email, context from other emails shows that the summary reflects and memorializes the
advice and feedback of lawyers. Specifically, in PRIV-APL-EG_00185120 (withheld for
privilege), a non-lawyer states that they drafted the summary “[b]ased on [a] conversation” with
Tina Wang (in-house counsel), and the email chain in that document shows Ms. Wang providing
additional information and feedback for the summary and analysis. In another email chain (PRIV-
APL-EG_00154403 (withheld for privilege)), the non-lawyer sends the draft to another non-
lawyer and states the draft has “gotten legal’s blessing.” While one part of Entry 9601 concerns
media coverage, the primary purpose of the email is to provide a summary and analysis of ongoing
regulatory proceedings. See Chrimar Sys. Inc. v. Cisco Sys. Inc., 2016 WL 1595785, at *3 (N.D.
Cal. Apr. 21, 2016) (“[A] document that is not communicated between an attorney and a client
may still be privileged as long as the document by its nature and contents memorializes and reflects
legal advice rendered in a privileged conversation.” (quotation marks omitted)).

        Entry 9799 (PRIV-APL-EG_00246004) is an email exchange between a non-lawyer and
Sean Cameron (in-house counsel) regarding the scope and meaning of the Injunction and whether
certain contemplated measures would comply with the Injunction. Mr. Cameron provides legal
advice in response to a question the non-lawyer raised and copies advice from outside counsel.
Although Epic notes that another non-lawyer was included on the chain, that non-lawyer did not
participate in the conversation. The email thread is for the sole purpose of providing legal advice
from both in-house and outside counsel regarding a discrete question about compliance with the
Court’s Injunction and is therefore privileged. See United States v. ChevronTexaco Corp., 241 F.
Supp. 2d 1065, 1076 (N.D. Cal. 2002).

       Apple will produce Entry 11569 (PRIV-APL-EG_00266051) without redaction.




                                                 2
    Case 4:20-cv-05640-YGR   Document 1267      Filed 02/20/25   Page 3 of 3




DATED: February 20, 2025                WEIL, GOTSHAL & MANGES LLP
                                        By: /s/ Mark A. Perry
                                        Counsel for Defendant Apple Inc.




                                    3
